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                                        November 4, 2021

BY HAND DELIVERY & CM/ECF

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3570

               Re:    Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                      D. Del. C.A. No. 1:17-mc-00151-LPS

Dear Judge Stark:

        Pursuant to the Court’s October 29, 2021 Oral Order (D.I. 383, the “Oral Order”), on
behalf of the Special Master, Crystallex, the Venezuela Parties, ConocoPhillips, the intervenors
Blackrock Financial Management, Inc. and Contrarian Capital Management, L.L.C. (the
“Intervenor Bondholders”), OI European Group, B.V. (“OIEG”), ACL1 Investments Ltd., ACL2
Investments Ltd., and LDO (Cayman) XVIII Ltd. (together “ACL”), and Huntington Ingalls
Incorporated (“Huntington Ingalls”) (collectively, the “Parties,” and each a “Party”), I write in
regards to the hearing scheduled for November 8, 2021 (D.I. 337, the “Hearing”) in the above
referenced matter. 1

       The Parties met and conferred in response to the Court’s Oral Order regarding the
Hearing. The Parties propose the following presentations to the Court in the order below:




1
  All capitalized terms used but not otherwise defined herein, have the meanings ascribed to such
terms in the Court’s May 27, 2021 Order Regarding Special Master (D.I. 277).
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November 4, 2021
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 Proposed                                                                          Estimated
                    Party                             Counsel
  Order                                                                              Time
             Special Master         Ray C. Schrock, P.C.,
    1.                                                                           15 minutes
             Robert. R Pincus       Weil, Gotshal & Manges LLP

                                    Amy R. Wolf and Richard G. Mason,
    2.       ConocoPhillips                                                      15 minutes
                                    Wachtell, Lipton, Rosen & Katz

                                    Nate Eimer,
                                    Eimer Stahl LLP                              45 minutes to
    3.       Venezuela Parties
                                    Michael J. Gottlieb,                         60 minutes
                                    Willkie Farr & Gallagher LLP

                                    Miguel L. Estrada and Robert L Wiegel,       45 minutes to
    4.       Crystallex
                                    Gibson, Dunn & Crutcher LLP                  60 minutes

                                    Christopher L. Carter,
    5.       OIEG                                                                10 minutes
                                    Morgan Lewis & Bockius LLP

                                    Alexander A. Yanos,
    6.       Huntington Ingalls                                                  5 minutes
                                    Alston & Bird LLP

                                    Joshua S. Bolian,
    7.       ACL                                                                 10 minutes
                                    Riley Warnock & Jacobson PLC

             Bolivarian
                                    George M. Garvey,
    8.       Republic of                                                         15 minutes
                                    Munger, Tolles & Olson LLP
             Venezuela

                                    Julia B. Mosse,
    9.       PDVSA                                                               5 to 10 minutes
                                    Curtis, Mallet-Prevost, Colt & Mosle LLP

                                    Walter Rieman,
             Intervenor
    10.                             Paul, Weiss, Rifkind, Wharton & Garrison 3 minutes
             Bondholders
                                    LLP

                                                                                 203 minutes
                                                       Total Estimated Time:
                                                                                 (or ~3.5 hours)


        Accordingly, the Parties submit that the total time for the Parties’ presentations will be
approximately three and a half hours. Each Party requests the opportunity to respond to the other
Parties’ presentations as appropriate. The time for such responses is not included in the above
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November 4, 2021
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list but the Parties expect that such responses will be limited, if any. The Parties also expect to
spend time responding to any questions the Court may have.

       The Parties remain available at the Court’s convenience should Your Honor have any
questions.

                                                              Respectfully submitted,

                                                              /s/ Myron T. Steele

                                                              Myron T. Steele (#00002)

                                                              Counsel for Special Master
                                                              Robert B. Pincus


cc:       All Counsel of Record (via CM/ECF)
          Jody Barillare, Morgan Lewis & Bockius LLP, counsel to OI European Group B.V.
          (jody.barillare@morganlewis.com)
          Peter J. Keane, Pachulski Stang Ziehl & Jones, counsel to Huntington Ingalls
          (pkeane@pszjlaw.com)
          Marie M. Degnan, Ashby & Geddes, P.A., counsel to ACL
          (MDegnan@ashbygeddes.com)

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